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Attorney for the Plaintiff


                         UNITED STATES DISTRICT COURT

                              DISTRICT OF NEVADA

                                         ***

  L.G. a minor, by and through his
  parent and natural guardian JEFF
  GORELICK;                                    Case No.: 3:22-cv-00228

         Plaintiff,
                                               NOTICE OF MANUAL FILING OF
                                               EXHIBIT 2 TO VERIFIED
         vs.
                                               COMPLAINT FOR DECLARATORY
                                               AND INJUNCTIVE RELIEF FOR
                                               VIOLATION OF THE FOURTH AND
  WASHOE COUNTY SCHOOL                         FOURTEENTH AMENDMENTS TO
  DISTRICT, a political subdivision of         THE UNITED STATES
  the State of Nevada; Superintendent          CONSTITUTION
  of the Washoe County School District
  KRISTEN MCNEILL; and Washoe
  County School District Area
  Superintendent MICHAEL PAUL.
  __________________________________/


      Plaintiff L.G. a minor, by and through his parent and natural guardian JEFF

GORELICK (“Plaintiff”), by and through their undersigned attorney, hereby gives

notice that they will be manually filing a CD with the Court pursuant to Pursuant to

LR IC 1-1 (d).




                                         1
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        The CD contains an audio file identified in the Plaintiff’s Complaint as Exhibit 2

entitled “Recording of 5-17-2022 Meeting.” Exhibit 2 is a .MP4 file and is 14.9 mb in

size.

              RESPECTFULLY SUBMITTED this May 23, 2022:



                                     By: ____/s/ Luke Busby, Esq. _____

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